Case 2:11-cr-20752-SFC-RSW ECF No. 607, PageID.3042 Filed 04/04/16 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


United States of America,

       Plaintiff,

v.                                                   Criminal Case No. 11-20752

Darren Terry,                                               Honorable Sean F. Cox

       Defendant.

_________________________________/

                                ORDER DENYING
                    MOTION FOR EXTENSION TO FILE § 2255 MOTION

       Acting pro se, on or about March 25, 2016, Defendant Darren Terry sent the Court a

submission that the Court construes as a motion asking this Court to extend or enlarge the time

period for Terry to file a motion under 28 U.S.C. § 2255.

       Terry has no § 2255 motion currently pending before this Court. As such, this Court

lacks the authority to grant the relief requested by Terry. See United States v. Asakevich, 810

F.3d 418 (6th Cir. 2016). Accordingly, the Court hereby ORDERS that Terry’s Motion for

Extension is DENIED.

       IT IS SO ORDERED.


Dated: April 4, 2016                                 S/ Sean F. Cox
                                                     Sean F. Cox
                                                     U. S. District Judge


I hereby certify that on April 4, 2016, the foregoing document was served on counsel of record
Case 2:11-cr-20752-SFC-RSW ECF No. 607, PageID.3043 Filed 04/04/16 Page 2 of 2




via electronic means and upon Darren Terry via First Class mail at the addresses below:
Darren Terry 15441039
Gilmer Federal Correctional Institution
Inmate Mail/Parcels
P.O. Box 6000
Glenville, WV 26351

Darren Terry15541039
Federal Correctional Institution
P. O. Box 2000
Fort Dix, NJ 08640



                                                   S/ J. McCoy
                                                   Case Manager
